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                                          MINUTE ORDER                                                       Page 1

                                  Magistrate Judge Edwin G. Torres
                        King Building Courtroom 10-5                             Date: 5/11/2021      Time: 1:30 p.m.
Defendant: KEVIN FUSCO                        J#: 81314-053     Case #: 17-CR-20275-UNGARO
AUSA: Manolo Reboso                                      Attorney: Courtney Montiero, Retained
Violation: SUPERVISED RELEASE VIOLATION                       Summons:           YOB: 1987

Proceeding: Initial Appearance                                       CJA Appt:
Bond/PTD Held: Yes        No         Recommended Bond:
Bond Set $25,000 personal surety                          Co-signed: Within 48 hours
at:
     Surrender and/or do not obtain passports/travel docs       Language: ENGLISH
      Report to PTS as directed/or           x’s a week/month by           Disposition:
      phone:         x’s a week/month in person                             Defendant consents to appear by VTC
      Random urine testing by Pretrial
      Services                                                              The parties STIPULATE to bond –
      Treatment as deemed necessary                                         NO HEARING HELD.          The Court
      Refrain from excessive use of alcohol                                 allows counsel to sign bond for the
      Participate in mental health assessment & treatment                   defendant with his approval.
      Maintain or seek full-time employment/education                       Defendant Released
      No contact with victims/witnesses, except through counsel             All further proceedings before Judge
      No firearms                                                           Ungaro
      Not to encumber property
      May not visit transportation establishments                           **Not to reside with girlfriend during
      Home Confinement/Electronic Monitoring and/or                         the pendency of this case. Abide by
      Curfew          pm to           am, paid by                           the Stay Away Order from girlfriend
      Allowances: Medical needs, court appearances, attorney visits,
      religious, employment
      Travel extended to: SD/FL only
                                                                             Time from today to ________ excluded
                                                    th
      Other: Maintain residence at office on SW 8 Street, **                 from Speedy Trial Clock
NEXT COURT APPEARANCE     Date:           Time:             Judge:                           Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R. 13:35:38      EGT-02/05-11-2021-ZOOM-1:35 pm                  Time in Court: 10
                                s/Edwin G. Torres                                         Magistrate Judge
